Case 2:19-cv-12001-SDW-LDW Document1-1 Filed 05/01/19 Page 1 of 1 PagelD: 14
Fe ee AS) CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither is
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J Ir ne ace nor ral aheg the filing and service of pleadings or other papers as required by law, except as
provided 7 local rules of court. This form, approved by the Judicial Con nited States ins

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rence of the eptember 1974, is required for the use of the Clerk of Court for the

 

purpose of initiating the civil docket sheet. (SEH INSTRUCTIONS ON NEXT PAGE OF THIS FORM)
I. (a) PLAINTIFFS DEFENDANTS
EXPRESS FREIGHT SYSTEMS INC. YMB ENTERPRISES INC., JOEL MENDLOVIC, JOHN DOES 1-10
and ABC CORPS. 1-10 (said names being fictitious)
(b) County of Residence of First Listed Plaintiff Bergen, NJ County of Residence of First Listed Defendant _ Kings, NY
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

Cc) Att ‘Firm Ni , Address, and Teleph i ber) Att (if Knawn)
FEPLIN' VOUNGRANY KABRS'S CERES"? C65 Harristown Road, eee
Suite 207, Glen Rock, New Jersey 07452
T: 201-791-4400

 

 

 

 

 

 
  

  

     

 

II. BASIS OF JURISDICTION (Piace an “x” in One Box Only) Il. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
O11. US. Government 3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State 4 1 © 1 Incorporated or Principal Place M4604
of Business In This State
(2. U.S. Government 4 Diversity Citizen of Another State 2 © 2 Incorporated and Principal Plae 5 0&5
Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subject of a O 3 © 3. Foreign Nation M6 6
Foreign Coun
IV. NATURE OF SUIT (Piace an “x” in One Bax Only) Click here for: Nature of Suit Code Descriptions

   

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O 625 Dmg Related Seizure

 

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© 422 Appeal 28 USC 158 0 375 False Claims Act

 

110 Insurance PERSONAL INJURY PERSONAL INJURY

   

     

 

 

 

 

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3 120 Marine © 310 Airplane O 365 Personal Injury - of Property 21 USC 881 | 423 Withdrawal 0 376 Qui Tam (31 USC
6 130 Miller Act 0 315 Airplane Product Product Liability 0 690 Other 28 USC 157 372%a))
© 140 Negotiable Instrument Liability (1) 367 Health Care/ O 400 State Reapportionment
© 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical a | Ci —j 0 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 3 820 Copyrights © 430 Banks and Banking
O 151 Medicare Act 6 330 Federal Employers’ Product Liability © 830 Patent O 450 Commerce
© 152 Recovery of Defaulted Liability ( 368 Asbestos Personal 3 835 Patent - Abbreviated 6 460 Deportation
Student Loans 0 340 Marine Injury Product New Drug Application |0 470 Racketeer Influenced and
(Excludes Veterans) 6 345 Marine Product Liability O 840 Trademark Corrupt Organizations
O 153 Recovery of Overpayment Liability PERSONAL PROPERTY [|___L ae TI AL § RITY |} 480 Consumer Credit
of Veteran’s Benefits 0 350 Motor Vehicle O 370 Other Fraud 0 710 Fair Labor Standards © 861 HIA (1395ff) © 485 Telephone Consumer
© 160 Stockholders’ Suits 1 355 Motor Vehicle 7 371 Truth in Lending Act © 862 Black Lung (923) Protection Act
2% 190 Other Contract Product Liability O 380 Other Personal © 720 Labor/Management O 863 DIWC/DIWW (405(g)) | 0 490 Cable/Sat TV
© 195 Contract Product Liability | 360 Other Personal Property Damage Relations © 864 SSID Title XVI O 850 Securities/Commodities/
© 196 Franchise Injury O} 385 Property Damage 0 740 Railway Labor Act © 865 RSI (405(g)) Exchange
© 362 Personal Injury - Product Liability 0 751 Family and Medical © 890 Other Statutory Actions
Medical Mal Leave Act O 891 Agricultural Acts

        
     

= R PETITIONS 40 790 Other Labor Litigation = [_ _}0 893 Environmental Matters
© 210 Land Condemnation 0 440 Other Civil Rights Habeas Corpus: O 791 Employee Retirement O 870 Taxes (U.S. Plaintiff 1 895 Freedom of Information
© 220 Foreclosure 6 441 Voting O 463 Alien Detainee Income Security Act or Defendant) Act
3 230 Rent Lease & Ejectment 1 442 Employment O 510 Motions to Vacate © 871 IRS—Third Party O 896 Arbitration
240 Torts to Land (1 443 Housing/ Sentence 26 USC 7609 899 Administrative Procedure
© 245 Tort Product Liability Accommodations O 530 General Act/Review or Appeal of

    

© 290 All Other Real Property 445 Amer, w/Disabilities - | 535 Death Penalty ;RATI Agency Decision

   

 

 

 

 

 

 

 

 

 

 

 

Employment Other: qo 462 Naturalization App aeion O 950 Constitutionality of
0 446 Amer. w/Disabilities - | 540 Mandamus & Other |0 465 Other Immigration State Statutes
Other O 550 Civil Rights Actions
448 Education O 555 Prison Condition
O 560 Civil Detainee -
Conditions of
Confinement
Vv. ORIGIN (Place an “X" in One Box Only)
C1 Original O2 Removed from O 3  Remanded from O 4 Reinstatedor © 5 Transferred from © 6 Multidistrict O 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File
Cite the U.S. Civil Statute under which you are filing (De not cite jurisdictional statutes unless diversity):
TION Not Applicable
VI. CAUSE OF AC Brief description of cause: .
Breach of Contract, Tortious interference and fraud.
VII. REQUESTED IN O CHECK IF THIS IS A CLASS ACTION DEMAND §$ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURYDEMAND: PL Yes No
VIII. RELATED CASE(S) = a
IF ANY ee eae DOCKET NUMBER

 

 

FOR OFFICE USE ONLY

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

DATE SIGNATURE OF A EY RECORD ——
05/01/2019 y yal
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